     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 1 of 46




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION


STATE OF TEXAS; STATE OF
MONTANA; STATE OF
ALABAMA; STATE OF
ARIZONA; STATE OF
ARKANSAS; STATE OF
GEORGIA; STATE OF KANSAS;
STATE OF KENTUCKY; STATE
OF INDIANA; STATE OF
LOUISIANA; STATE OF
MISSISSIPPI; STATE OF
MISSOURI; STATE OF
NEBRASKA; STATE OF NORTH                    Civ. Action No. _______________
DAKOTA; STATE OF OHIO;
STATE OF OKLAHOMA; STATE
OF SOUTH CAROLINA; STATE
OF SOUTH DAKOTA; STATE OF
UTAH; STATE OF WEST
VIRGINIA; and STATE OF
WYOMING,

       Plaintiffs,

v.

JOSEPH R. BIDEN, JR., in his official
capacity as President of the United
States; ANTONY J. BLINKEN, in his
official capacity as Secretary of the
Department of State; MERRICK B.
GARLAND, in his official capacity as
Attorney General of the United States;
ALEJANDRO MAYORKAS, in his
official capacity as Secretary of the
Department of Homeland Security;
SCOTT DE LA VEGA, in his official
capacity as Acting Secretary of the
Interior; JENNIFER GRANHOLM, in
her official capacity as Secretary of the
Department of Energy; JANE
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 2 of 46




 NISHIDA, in her official capacity as
 Acting Administrator of the
 Environmental Protection Agency;
 PETE BUTTIGIEG, in his official
 capacity as Secretary of Transportation;
 and the UNITED STATES OF
 AMERICA,

          Defendants.




                                    COMPLAINT

                                 I. INTRODUCTION

      1. When the States ratified the Constitution, they ceded the power to regulate

inter-state and international commerce to Congress, U.S. Const. art. I, § 8, cl. 3, which

must act through the process of bicameralism and presentment. Id. § 7. This process

may “often seem clumsy, inefficient, even unworkable,” but was designed to protect

both the liberty and property of individuals and the prerogative of sovereign States.

See, e.g., I.N.S. v. Chadha, 462 U.S. 919, 958-59 (1983). The President has certain

prerogatives to act on behalf of the United States in foreign affairs. But as far as

domestic law is concerned, the President must work with and abide by the limits set

by Congress—whether he likes them or not. 1

      2. This Administration has sought to leverage its power regarding U.S. foreign

policy to unilaterally contradict Congress’s stated domestic policy regarding one of


      1 For a discussion of the difference between the President’s ability to bind the
United States as a matter of international law and as a matter of domestic law, see
generally Bradford Clark, Domesticating Sole Executive Agreements, 9393 Va. L.
Rev. 1574 (2007).



                                            2
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 3 of 46




the most significant energy projects in a generation: the Keystone XL Pipeline. This

it may not do. On behalf of many of the States through which Keystone XL runs—

beginning within the United States in Montana in the north and terminating in Texas

in the south, the States of Montana and Texas bring this suit to prevent the

Administration from circumventing limits placed on it by the Constitution,

Administrative Procedure Act, and congressionally enacted national policy in this

critical energy matter.

      3. Keystone XL is part of a larger system of pipelines, which was designed by

TC Energy Corporation to transport approximately 830,000 barrels of oil from where

it is produced in Canada and Montana to pre-existing refineries in Houston. Keystone

XL is that piece of the pipeline that cross the United States-Canadian border in

Philips County, Montana. The U.S. government has studied the safety,

environmental impact, and economic benefits of Keystone XL for years. It repeatedly

concluded that the pipeline would have a negligible impact on the climate but

significant impact on the economy and American energy independence.

      4. In 2019, consistent with multiple acts of Congress, President Trump

approved the construction of the 1.2 mile stretch of Keystone XL that crosses the

border. 2 That construction is now effectively complete. 3


      2 Presidential Permit of March 29, 2019 Authorizing TransCanada Keystone
Pipeline, L.P., To Construct, Connect, Operate, and Maintain Pipeline Facilities at
the International Boundary Between the United States and Canada, 84 Fed. Reg.
13101 (April 3, 2019), https://www.govinfo.gov/content/pkg/FR-2019-04-03/pdf/2019-
06654.pdf.
      3   Id.



                                           3
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 4 of 46




      5. Within hours of taking office, President Biden issued an Executive Order

that purports to revoke the permit on the grounds that he has “an ambitious plan” to

“reduce harmful emissions and create good clean-energy jobs” and that this completed

pipeline would “not be consistent with [his] Administration’s economic and climate

imperatives.” 4 The order itself relies on a permit provision that purports to allow such

revocation by agreement from the Company holding the permit. But it cites no

statutory or other authorization permitting the President to change energy policy as

set by Congress in this manner.

      6. Revocation of the Keystone XL pipeline permit is a regulation of interstate

and international commerce, which can only be accomplished as any other statute

can: through the process of bicameralism and presentment. The President lacks the

power to enact his “ambitious plan” to reshape the economy in defiance of Congress’s

unwillingness to do so. To the extent that Congress had delegated such authority, it

would violate the non-delegation doctrine. But Congress has not delegated such

authority: It set specific rules regarding what actions the President can take about

Keystone XL and when. The President, together with various senior executive

officials, violated those rules. The action should be set aside as inconsistent with the

Constitution and the Administrative Procedure Act, 5 U.S.C. §§ 500, et seq.

                                     II. PARTIES

      6.      Plaintiffs are the States of Montana, Texas, Alabama, Arkansas,

Georgia, Kentucky, Indiana, Louisiana, North Dakota, Oklahoma, South Carolina,


      4   Exec. Ord. No. 13990, 86 Fed. Reg. 7037, 7041 (January 20, 2021).



                                           4
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 5 of 46




South Dakota, Utah, and Wyoming (collectively, the “States”). They are sovereign

States of the United States of America, represented by their respective Attorneys

General, the States’ chief legal officers who bear the duty and authority to represent

the States in court.

      7.     Defendant Joseph R. Biden, Jr. is named in his official capacity as

President of the United States. President Biden issued Executive Order 13990, which

purported to revoke the March 2019 Permit for Keystone XL.

      8.     Defendant Antony J. Blinken is named in his official capacity as

Secretary of the Department of State. The Department of State communicates and

coordinates with the Canadian government regarding commercial issues affecting the

U.S.-Canada relationship. Pursuant to Executive Orders 13337 and 13867, the

Secretary of State has been responsible for assessing Keystone XL permit requests.

Based on information and belief, the Secretary is also responsible for implementing

Executive Order 13990. See, e.g., Temporary Payroll Tax Cut Continuation Act of

2011, Pub. L. No. 112-78, § 501(a), 125 Stat. 1280 (the “2011 Act”)Exec; Exec. Order

No. 13337, 69 Fed. Reg. 25299 (Apr. 30, 2004).

      9.     Defendant Merrick B. Garland is named in his official capacity as

Attorney General of the United States. The Attorney General is the chief law

enforcement officer of the United States and directs litigation on its behalf.

      10.    Defendant Alejandro Mayorkas is named in his official capacity as

Secretary of the Department of Homeland Security. The Department of Homeland

Security is the agency primarily responsible for law enforcement at the nation’s




                                           5
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 6 of 46




borders. The Department of Homeland Security oversees the two agencies devoted to

border concerns, U.S. Customs and Border Protection and U.S. Immigration and

Customs Enforcement.

      11.    Defendant Scott de la Vega is named in his official capacity as Acting

Secretary of the Department of the Interior. The Department of Interior oversees the

Bureau of Land Management, an agency that manages public lands in the United

States. Portions of the Keystone XL, including the border-crossing segment, would

traverse federal property.

      12.    Defendant Jennifer Granholm is named in her official capacity as

Secretary of the Department of Energy.

      13.    Defendant Jane Nishida is named in her official capacity as Acting

Administrator of the Environmental Protection Agency.

      14.    Defendant Pete Buttigieg is named in his official capacity as Secretary

of the Department of Transportation.

      15.    Defendants Garland, Mayorkas, De la Vega, Granholm, Nishida, and

Buttigieg, together with Secretary Blinken, will be referred as the “Cabinet

Defendants.” To the extent that Secretary Blinken asserts that enforcing Executive

Order No. 13990 falls outside his jurisdiction, that responsibility would fall within

the jurisdiction of one or more of the other Cabinet Defendants. See ExecExec. Order

No. 13337, 69 Fed. Reg. 25299.

      16.    Defendant United States of America includes all government agencies

and departments responsible for enforcement of the provisions in Executive Order




                                         6
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 7 of 46




13990 relating to the Keystone XL and is sued under 28 U.S.C. § 1346 and 5 U.S.C.

§§ 702–703.

                         III. JURISDICTION AND VENUE

      17.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1346, and 1361.

      18.     The Court is authorized to award the requested declaratory and

injunctive relief under 28 U.S.C. §§ 1361, 2201–02.

      19.     Venue lies in this district pursuant to 28 U.S.C. § 1391 because Plaintiff

the State of Texas is a resident of this judicial district, and a substantial part of the

events or omissions giving rise to Plaintiffs’ claims occurred in this District.

      20.     The States have standing, both in their own rights, as sovereign, and in

a parens patriae capacity. The Plaintiff States expect that cancellation of Keystone

XL will lead to significant loss in tax revenue. As discussed in further detail below,

Keystone XL was expected to—indeed, already has—generated significant economic

value. For example, the larger pipeline of which Keystone XL is a small piece called

for the construction of living camps for workers along the route. These camps would

generate the equivalent of one full year of property-tax revenue, or about $4 million,

for their host counties. They would also generate short-term revenues from sales and

use taxes totaling approximately $66 million across the affected States. Construction

could last for up to two years. Though a significant amount of this construction was

completed before the President unilaterally canceled a key 1.2-mile segment of the




                                           7
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 8 of 46




system, substantial work remained to be done. As a result, substantial tax revenues

were lost.

      21.    The Plaintiff States have sovereign interests in stewarding and

preserving the territories within their borders. See Massachusetts v. E.P.A., 549 U.S.

497, 519 (2007). Moreover, traditionally, decisions about the siting of oil pipelines,

even interstate oil pipelines, have been made by State governments if the State

governments choose to exercise a pipeline siting authority. See, e.g., S.D. Codified

Laws § 49-41B-4.1 (requiring a State permit and the approval of the State legislature

prior to construction of a “trans-state” transmission facility, defined to include

pipelines). The transnational portion of the pipeline over which the President

purports to exercise jurisdiction is only one tiny piece of a larger network of pipelines.

The unilateral decision to revoke the permit for that piece interferes with the States’

traditional authority to regulate pipelines within their borders.

      22.    States also have parens patriae interests in the physical and economic

well-being of their residents in general, which will suffer because of the decision to

revoke the Keystone XL permit. Massachusetts, 549 U.S. at 519; Alfred L. Snapp &

Son, Inc. v. Puerto Rico, 458 U.S. 592, 607 (1982). The Plaintiff States and their

residents are participants in foreign and international commerce and therefore have

quasi-sovereign interests in maintaining the constitutionally prescribed separation

of powers between Congress and the President as it relates to the regulation of foreign

and interstate commerce. Alfred L. Snapp, 458 U.S. at 607–08. And more concretely,

Keystone XL was the hub of a system that was expected to create high-paying union




                                            8
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 9 of 46




jobs across numerous States. Approximately 12,000 of the 42,100 total jobs needed to

construct and operate the Keystone XL, would be located in Montana, South Dakota,

Nebraska, and Kansas.

      23.    The Executive’s unilateral decision to revoke the Keystone XL permit is

contrary to the constitutional structure to which the States agreed at the time of

ratification. The Executive’s decision also encroaches upon the States’ abilities to

steward and control the lands within their borders. Once fully constructed and

operational, the Keystone XL would have provided tens of millions of property-tax

dollars to the Plaintiff States and their local governments.

      24.    The decision likewise harms the physical and economic well-being of the

States’ residents, communities, businesses, and workers. The States have standing

to seek a remedy for those harms and vindicate the substantial reliance interests

their constituencies have justifiably cultivated based on the previous government

decision to greenlight the Keystone XL project.

                          IV. FACTUAL BACKGROUND

A. The Keystone System and the Keystone XL Pipeline

      25.    TC Energy owns 2,687 miles of interconnected petroleum pipelines in

the United States and Canada (“Keystone System”). The primary pipeline artery, the

Keystone Pipeline (“Keystone I Pipeline”) originates in Alberta, Canada, travels

eastward into Manitoba, and enters the United States in North Dakota. From the

border, the Keystone I pipeline travels south, through South Dakota, and reaches a

junction at Steele City, Nebraska. From Steele City, Keystone I’s primary spur runs




                                          9
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 10 of 46




east through Missouri to delivery and refining points in Illinois. The other spur from

Steele City—designed especially to freight Keystone XL oil—runs through Cushing,

Oklahoma and southward to state-of-the-art refineries on the Gulf Coast, including

refineries in Houston and Port Arthur, Texas. This portion of the Keystone System

has been operational for several years—but because the Keystone XL is not yet

online, the southernmost terminals and regional refineries are processing oil in

quantities far below capacity.

      26.    At issue here is the Keystone XL project, proposed by TC Energy in 2008.

Like the Keystone I Pipeline, the Keystone XL originates in Alberta, and, as proposed,

will travel through Montana, South Dakota, Nebraska, Kansas, and Oklahoma to the

Gulf Coast, where it would terminate in Houston and Port Arthur, Texas. When

operational, the Keystone XL at full capacity would transport upwards of 830,000

barrels of Alberta and Montana crude oil per day to the United States interior and

Gulf Coast. Specific to this case is the government authorization TC Energy needs to

build Keystone XL facilities at the international border in northern Montana. The

area covered by the authorization extends from the border about 1.2 miles to and

including the first pipeline isolation valve in Montana. Though a tiny piece of the

larger Keystone project, it is the fulcrum around which XL turns.

      27.    Keystone XL was expected to transmit hundreds of thousands of barrels

of crude oil to a large refining hub near the Gulf Coast and supplement refining

capacity in Illinois, ensuring a reliable domestic and global energy source. Economic

modeling also reflected that Keystone XL’s construction and operation would create




                                         10
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 11 of 46




and sustain thousands of jobs, bolster U.S. energy independence and global

leadership, advance commercial relations with Canada, infuse high poverty areas

with much-needed tax revenues, and—as compared to transmitting the same oil via

rail, truck, or ship—reduce greenhouse gas emissions.

B. TC Energy’s Early Efforts to Obtain Federal Authorization Prove that
   Keystone Would Benefit the American Economy Without Harming the
   Environment.

      28.    In 2004, the Bush Administration issued Executive Order No. 13337,

which purported to delegate to the Secretary of State the authority to “expedite

reviews of permits as necessary to accelerate the completion of energy production and

transmission products.”

      29.    TC Energy first applied for a permit from the Secretary of State to

construct and operate the cross-border facilities in 2008. For the next three years,

The State Department conducted an expansive and lengthy environmental review of

the proposed Keystone XL project, concluding three times in April 2010, April 2011,

and August 2011, that the Keystone XL would not materially affect greenhouse gas

emissions or alter the amount of extracted and combusted crude oil on the world

market.

      30.    During this process, TC Energy adopted dozens of State Department-

requested conditions for the design, construction, and operation of the Keystone XL.

Nonetheless, the State Department in November 2011 concluded it could not

authorize the cross-border Keystone XL facilities without additional information.

      31.    In December 2011, Congress passed the 2011 Act, Pub. L. No. 112-78,

125 Stat. 1280. Section 501 of the 2011 Act required the President to grant TC


                                         11
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 12 of 46




Energy’s application to construct and operate the Keystone XL cross-border facilities

or report to Congress why he believed the project disserved the national interest

within 60 days of the law’s enactment. If the President failed to grant the permit or

to make a negative national-interest determination within that time, the Act

provided that the Keystone XL permit “shall be in effect by operation of law.” 2011

Act, Pub. L. 112-78, § 501(b)(3), 125 Stat. at 1289-90.

      32.       On January 18, 2012, President Barack Obama—who had signed the

2011 Act only weeks earlier—issued a statement concurring with the State

Department’s recommended denial of the Keystone XL permit. 5 As part of the

statement, despite years of study, President Obama decried “the rushed and arbitrary

deadline insisted on by Congressional Republicans [that] prevented a full assessment

of the pipeline’s impact, especially the health and safety of the American people, as

well as our environment.” 6 The State Department issued an order denying the permit

on January 31, 2012. The President and State Department indicated that they would

consider a renewed permit application in the future. President Obama’s 2012 denial

was not based on the conclusion that Keystone XL disserved the national interest.

      33.       In May 2012, TC Energy renewed its State Department application for

a Keystone XL cross-border permit.




      5 Press Release, President Barack Obama, Statement by the President on the
Keystone XL Pipeline (Jan. 18, 2012), https://obamawhitehouse.archives.gov/the-
press-office/2012/01/18/statement-president-keystone-xl-pipeline.
      6   Id.



                                          12
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 13 of 46




      34.       The State Department twice more concluded that the proposed Keystone

XL would not materially affect greenhouse gas emissions or significantly impact the

rate of extraction or demand for crude oil.

      35.       The State Department also studied in detail the potential impact of

Keystone XL on the American economy. Its “analysis recognize[d] three distinct

components.” At the first level, “[d]irect economic activity associated with

construction includes all jobs and earnings at firms that are awarded contracts for

goods and services, including construction, directly by Keystone.”(emphasis added). 7

Though substantial, these benefits were dwarfed by indirect and induced economic

activity. “Indirect economic activity includes all goods and services purchased by these

construction contractors in the conduct of their services,” including “the goods and

services purchased to produce inputs such as concrete, fuel, surveying, welding

materials, and earth-moving equipment.”(emphasis added). 8 Finally, induced

economic activity “includes the spending of earnings received by employees working

for either the construction contractor or for any supplier of goods and services

required in the construction process. Examples of induced activities include spending

by access road construction crews, welders, employees of pipe manufacturers, and

ranchers providing beef for restaurants and construction camps.”



      7  See U.S. Department of State, Executive Summary: Final Supplemental
Environmental Impact Statement for the Keystone XL Project, 19–20 (Jan.
2014), https://2012-keystonepipeline-
xl.state.gov/documents/organization/221135.pdf .
      8   Id.



                                          13
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 14 of 46




      36.    The State Department concluded that the Keystone XL project would be

a boon to the pipeline States and non-pipeline States alike. As detailed by the U.S.

State Department’s January 2014 Final Supplemental Environmental Impact

Statement    (“2014   FSEIS”)    and   its    December   2019    Final   Supplemental

Environmental Impact Statement (“2019 FSEIS”), the construction and operation of

the Keystone XL would bring significant benefits to the Plaintiff States and their local

communities. 9

      37.    During construction, the State Department concluded, proposed

Keystone XL spending would support approximately 42,100 jobs, and approximately

$2 billion in earnings throughout the United States. It would especially bring much

needed jobs to seventeen areas (census tracts or block groups) in the proposed

Keystone XL project area that were identified as minority and/or low-income

populations. 2014 FSEIS 4.10-5. For instance, five of the six Montana counties

through which Keystone XL would travel are designated high-poverty areas.

      38.    And, the State Department found, these benefits would not end with

construction. Once operational, Keystone XL would generate tens of millions of

dollars in tax revenue for Plaintiff States and their local communities, including

county governments and school districts as well as other taxing entities. Operation of




      9  See U.S. Department of State, Final Supplemental Environmental Impact
Statement        for     the        Keystone       XL       Project (Jan.   2014),
https://www.keystonepipeline-xl.state.gov/finalseis/index.htm; U.S. Department of
State, Final Supplemental Environmental Impact Statement for the Keystone XL
Project (Dec.        2019), https://www.state.gov/wp-content/uploads/2019/12/Vol-I-
Keystone-Final-SEIS-Cover-through-Chapter-11_508-December-2019.pdf.


                                             14
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 15 of 46




the electrical power infrastructure would also increase the revenues of the members

of local electrical cooperatives in Montana, who would benefit by selling large

amounts of electrical power to the Keystone XL.

      39.    Still unsatisfied, in 2015 the State Department sought the views of

several other Cabinet agencies as contemplated in Executive Order No. 13337.

      40.    On November 6, 2015, President Obama announced that his

Administration would again deny the renewed Keystone XL cross-border permit. 10

Though the State Department had concluded that the Keystone XL would increase

national energy security, meaningfully benefit the economy, and promote a stronger

and more collaborative U.S.-Canada working relationship, the President determined

that approving the project would undercut the U.S.’s global leadership in fighting

climate change. At no time did he explain this conclusion given his Administration’s

repeated findings the Keystone XL would not materially increase greenhouse gas

emissions or the amount of extracted crude oil. To the contrary, the State Department

noted that the pipeline was an environmentally superior method of transporting oil

compared to alternatives like trucks, trains, and tankers.

   C. President Trump Approves Keystone XL, Which Is Substantially
      Completed During His Term in Office.

      41.    Days after assuming office, President Donald Trump issued a

Presidential Memorandum inviting TC Energy to resubmit its application for the



      10 Press Release, President Barack Obama, Statement by the President on the
Keystone XL Pipeline (Nov. 6, 2015), https://obamawhitehouse.archives.gov/the-
press-office/2015/11/06/statement-president-keystone-xl-pipeline.



                                         15
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 16 of 46




cross-border permit and ordering his Administration to expedite consideration of the

application. 11

       42.    On January 26, 2017, TC Energy once again renewed its application.

       43.    The State Department on March 23, 2017 granted the permit “to

construct, connect, operate, and maintain pipeline facilities at the international

border of the United States and Canada at Morgan, Montana, for the import of crude

oil from Canada to the United States.” 12

       44.    In November 2018, a federal district court enjoined the permit, holding

that the State Department failed to adequately consider relevant information as

required by the Administrative Procedure Act and the National Environmental Policy

Act. See Indigenous Envtl. Network v. United States Dep’t of State, 347 F. Supp. 3d

561 (D. Mont. 2018).

       45.    On March 29, 2019, the President issued a new Keystone XL cross-

border permit. For clarity, the March 29, 2019 order revoked the March 23, 2017

State Department order. 13




       11Memorandum on Construction of the Keystone XL Pipeline, Jan. 24, 2017,
82 Fed. Reg. 8663 (Jan. 30, 2017), https://www.govinfo.gov/content/pkg/FR-2017-01-
30/pdf/2017-02035.pdf.
       12Notice of Issuance of a Presidential Permit to TransCanada Keystone
Pipeline, L.P., Public Notice 9941, 82 Fed. Reg. 16467 (April 4, 2017),
https://www.federalregister.gov/documents/2017/04/04/2017-06646/notice-of-
issuance-of-a-presidential-permit-to-transcanada-keystone-pipeline-lp.
        Presidential Permit Authorizing TransCanada Keystone Pipeline, 84 Fed.
       13

Reg. 13101 (Apr. 3, 2019).


                                            16
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 17 of 46




      46.      On April 10, 2019, the President issued Executive Order No. 13867,

which modified and superseded Executive Order No. 13337. It instructed the

Secretary of State to adopt procedures that would allow for permits to be approved

within 60 Days of receipt. Based on a diligent search, it appears that Executive Order

No. 13867 remains in effect.

      47.      The portion of the Keystone XL pipeline that crosses the United States’

northern border with Canada was substantially completed before the end of 2020.

D. President Biden Unilaterally Revokes the Keystone XL Cross-Border
   Permit After Construction of the Pipeline Segment Is Substantially
   Complete.

      48.      Notwithstanding the significant reliance interests that had developed,

President Biden signed an Executive Order entitled “Protecting Public Health and

the Environment and Restoring Science to Tackle the Climate Crisis” within hours of

taking office. 14 In Section 6, the President announced that he was revoking President

Trump’s March 29, 2019 permit. The rationale supporting the decision was scant, and

is reproduced here in full:

      (b) In 2015, following an exhaustive review, the Department of State and
      the President determined that approving the proposed Keystone XL
      pipeline would not serve the U.S. national interest. That analysis, in
      addition to concluding that the significance of the proposed pipeline for
      our energy security and economy is limited, stressed that the United
      States must prioritize the development of a clean energy economy, which
      will in turn create good jobs. The analysis further concluded that
      approval of the proposed pipeline would undermine U.S. climate
      leadership by undercutting the credibility and influence of the United
      States in urging other countries to take ambitious climate action.

      (c) Climate change has had a growing effect on the U.S. economy, with

      14   See Exec. Order 13990, 86 Fed. Reg. 7037 (January 20, 2021).



                                          17
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 18 of 46




      climate-related costs increasing over the last 4 years. Extreme weather
      events and other climate-related effects have harmed the health, safety,
      and security of the American people and have increased the urgency for
      combatting climate change and accelerating the transition toward a
      clean energy economy. The world must be put on a sustainable climate
      pathway to protect Americans and the domestic economy from harmful
      climate impacts, and to create well-paying union jobs as part of the
      climate solution.

      (d) The Keystone XL pipeline disserves the U.S. national interest. The
      United States and the world face a climate crisis. That crisis must be
      met with action on a scale and at a speed commensurate with the need
      to avoid setting the world on a dangerous, potentially catastrophic,
      climate trajectory. At home, we will combat the crisis with an ambitious
      plan to build back better, designed to both reduce harmful emissions and
      create good clean-energy jobs. Our domestic efforts must go hand in
      hand with U.S. diplomatic engagement. Because most greenhouse gas
      emissions originate beyond our borders, such engagement is more
      necessary and urgent than ever. The United States must be in a position
      to exercise vigorous climate leadership in order to achieve a significant
      increase in global climate action and put the world on a sustainable
      climate pathway. Leaving the Keystone XL pipeline permit in place
      would not be consistent with my Administration’s economic and climate
      imperatives.

      49.    Just a few years earlier, President Obama had bemoaned that 60 days

was insufficient to fully determine whether Keystone XL served the national

interest—despite years of exhaustive environmental and economic reviews uniformly

concluding that (a) Keystone XL would not materially affect greenhouse gas

emissions or increase the amount of crude oil on the world market, (b) Keystone XL

would provide a safer and more environmentally sound method of transporting crude

oil, and (c) Keystone XL would positively affect the U.S. economy. Yet mere hours into

his first day in office, President Biden affirmatively concluded that the Keystone XL

project disserved the national interest because it would send the “wrong message”

about his Administration’s climate action trajectory.



                                         18
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 19 of 46




E. The Plaintiff States’ Injuries from the President’s Unilateral Decision to
   Revoke the Keystone XL Permit

      50.    President Biden did not consult with the Plaintiff States before making

this decision, nor did he consider the far-reaching consequences his decision would

impose on Plaintiffs.

      51.    The pipeline States, as well as their counties, local communities, and

school districts stood to gain tens of millions of dollars in tax revenue from the

construction and operation of the Keystone XL. The total estimated property tax from

the Keystone XL project in the first full year of operations would be approximately

$55.6 million spread across 27 counties in just three States—Montana, South Dakota,

and Nebraska.

      52.    These revenues would particularly benefit poorer rural areas, providing

a much-needed influx of resources to fund important public and community services.

Property tax revenue during operations would be substantial for many counties, with

an increase of an estimated 10 percent or more in 17 of the 27 counties with Keystone

XL facilities. In Montana, the estimated property tax from the proposed Project in

the first full year of operations, as a percent of actual property tax revenue in 2010,

would range from 27 percent in Phillips County to 117 percent in McCone County.

2014 FSEIS § 4.10-34. The Keystone XL project would provide an estimated $26

million per year in combined tax revenue to Fallon, Prairie, Dawson, McCone, Valley,

and Phillips counties. 2014 EIS, Figure 4.10.1-4. 15


      15                                               https://2012-keystonepipeline-
xl.state.gov/documents/organization/221186.pdf.



                                          19
        Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 20 of 46




         53.   The President’s decision will eliminate the approximately 3,700

Montana-based construction jobs that would have garnered approximately $127

million in employment earnings—more than half a percentage point of all Montana’s

annual employment earnings. Montana would collect approximately $8.5 million

from taxes levied on that income. See Mont. Code §15-30-2103.

         54.   In addition to the direct impact of taxes, surrounding States stood to

receive substantial economic benefits from the construction and operation of the

Keystone XL. The Plaintiff States, local communities, workers, businesses, and

utilities have made significant investments in anticipation of hosting, constructing,

and servicing the pipelines and its attendant installations. Thousands of workers—

many unionized—in the pipeline States were engaged to participate in the Keystone

XL’s construction, and many would be employed permanently to maintain the

pipeline. Without the trans-border piece of the pipeline, the remaining system is

largely without function. Those jobs, investments, and business opportunities will be

lost.

         55.   Revocation of the Keystone XL permit will cost the Plaintiff States and

their communities tens of millions of dollars in annual tax revenue from the

regulators, residents, and businesses facilitating the refining, transportation, and

exportation of crude oil that would be moved and delivered by Keystone XL. As long

as Keystone XL remains inoperative, these States’ residents and businesses lose the

opportunity to refine, transport, and export the Keystone XL oil. If the President’s




                                          20
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 21 of 46




unilateral decision is legally effective, those jobs and business opportunities will

never materialize.

      56.    Cancelling Keystone XL also adversely impacts Texas’s and Louisiana’s

refinery industry, and its associated employment base. Though it will not result in

reduced production in Canada, eliminating Keystone XL will deprive these States’

refineries of alternative crude oil inputs and increase the costs of transporting

alternative inputs to their refining locations. Specifically, recent increases in U.S. oil

production from hydraulic fracturing lead to light and very light crude. Numerous

Texas and Louisiana refineries, however, are designed to refine medium or heavy

crude—the very kind Keystone XL would transport. They currently rely on oil from

politically unstable locations of the world like Mexico and Venezuela, and importation

from those countries imposes significant transportation costs. Cancelling Keystone

XL will endanger the supply of crude for these refineries and have a devastating effect

on the local job market. Three of the six contractors responsible for constructing the

Keystone XL project were from the Gulf Coast.

      57.    As in Montana, cancelling Keystone XL will negatively impact Gulf

States’ public revenues now and over time. For example, due to its location, Louisiana

has one of the most significant pipeline networks in the world. Cancelling Keystone

XL will terminate employment for Louisiana workers and contractors participating

in Keystone XL’s development and construction. This will reduce Louisiana income

taxes and local/state sales taxes that would have been paid from the economic activity

resulting from the development and construction of the pipeline.




                                           21
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 22 of 46




      58.    Finally, cancelling Keystone XL will have ripple effects that adversely

impact the economy and environment in non-pipeline States as well. As the State

Department repeatedly recognized, the Keystone XL project does not materially affect

the amount of crude oil extracted in Western Canada. Any oil that is not transported

via the Keystone XL, will be transported on trains, trucks, and ships. Economically,

this will diminish capacity and increase costs associated with transporting other

commodities, including agricultural products and consumer goods. Environmentally,

cancelling Keystone XL will also be counterproductive. Hundreds of thousands of

gallons of oil that would have flowed through the pipeline by operation of physics will

now traverse the States’ territories in trucks and trains. Trucks and trains must burn

fuel to transport fuel. This will result not only in increased emissions but also higher

wear-and-tear on the States’ highway systems, and an increased risk of traffic

accidents.

                             V. CLAIMS FOR RELIEF

      59.    Unless otherwise specified, the below claims are asserted against each

of the Defendants in their official capacities. All of the forgoing allegations are

incorporated into each count as if fully repeated therein. To the extent there is any

perceived inconsistency between the below claims for relief, the States expressly

plead them in the alternative. The States further reserve the right to amend the

complaint at an appropriate time.

                                      COUNT I:

 Declaratory Judgment under 5 U.S.C. § 706 and 28 U.S.C. §§ 2201-02 that
 the President’s Revocation of the Keystone XL Pipeline Violates the U.S.
                   Constitution’s Separation of Powers


                                          22
     Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 23 of 46




       60.    Even if Congress had never spoken on the issue of authorizing cross-

border oil pipeline permits, the President would lack the unilateral un-delegated

power to revoke the Keystone XL permit.

       61.    The decision to provide or withhold permission to construct and operate

an oil pipeline across the international border with Canada is a regulation of

international and interstate commerce. Under the Constitution, the power to regulate

international and interstate commerce resides with Congress—not the President.

U.S. Const. art I, § 8, cl. 3.

       62.    Congressional power to regulate foreign commerce is “exclusive and

plenary.” Bd. of Trs. of Univ. of Ill. v. United States, 289 U.S. 48, 56 (1933). The words

of the Commerce Clause “comprehend every species of commercial intercourse

between the United States and foreign nations. No sort of trade can be carried on

between this country and any other, to which this power does not extend.” Gibbons

v. Ogden, 22 U.S. 1, 193-94 (1824).

       63.    When Congress has so far left some matter of foreign or interstate

commerce unregulated, such “inaction” in regulating a particular commercial issue

“is equivalent to a declaration that inter-State commerce shall be free and

untrammelled.” Welton v. Missouri, 91 U.S. 275, 282 (1875). The same rule prevents

the Executive from attempting to fill the regulatory gap—even in times of a national

emergency. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 643 (1952)

(Jackson, J., concurring) (rejecting the idea that because “Congress sees fit to rely on




                                           23
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 24 of 46




free private enterprise … the Executive … [may] seize the facility for operation upon

Government-imposed terms”).

      64.    The President is the Commander in Chief of U.S. armed forces. U.S.

Const. art II, § 2, cl. 1. He also may exercise, in coordination with the United States

Senate, certain other powers related to foreign affairs. Id. art. II, § 2, cl. 2. The

Supreme Court has observed that “[t]he President is the sole organ of the nation in

its external relations, and its sole representative with foreign nations.” United States

v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 319 (1936). But in the same breath, the

Court has reaffirmed that the President’s foreign affairs powers, “like every other

governmental power, must be exercised in subordination to the applicable provisions

of the Constitution.” Id. at 320.

      65.    “The Executive is not free from the ordinary controls and checks of

Congress merely because foreign affairs are at issue.” Zivotofsky ex rel. Zivotofsky v.

Kerry, 576 U.S. 1, 21 (2015). Thus, “it is essential the congressional role in foreign

affairs be understood and respected.” Id.

      66.    President Biden’s decision to revoke the Keystone XL permit exceeded

the scope of his authority under Article II of the Constitution. Executive Order 13990

does not cite any statutory authority to revoke a transnational pipeline permit. No

such authority was contained in the 2011 Act, which gave the President a one-time,

binomial choice: approve the pipeline or explain to Congress why he would not based

on the national interest within 60 days.




                                            24
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 25 of 46




      67.      The Executive Order invokes a climate crisis, but “imperatives of

events” have not prevailed such that the President’s unenumerated powers entitle

him to supersede the enumerated power of Congress to regulate—and in this case

disrupt—foreign and interstate commerce. Youngstown, 343 U.S. at 637 (Jackson, J.,

concurring).

      68.      The Executive Order invokes a term in the 2019 permit granted by the

Trump Administration purporting to give the President “sole discretion” to revoke

the permit. But Plaintiff States are not aware of any principle of law that allows the

President to arrogate power to himself through some sort of pseudo-contract with a

private party. To the contrary, the Supreme Court has stated that the separation of

powers is so significant that the political branches may not even agree amongst

themselves to reallocate that authority. Chadha, 462 U.S. at 958-59. Let alone can

the Executive do so by an arrangement with a private party.

      69.      Nor is it any response to say that past Presidents have issued cross-

border permits. Since the Administration of Ulysses S. Grant, Presidents have

recognized their subsidiary role to Congress in granting cross-border permits. Foreign

Cables, 22 Op. Att’y Gen. 13 (1898) (discussing the President’s powers vis-a-vis the

landing of foreign submarine cables). Where a claim of executive power is “expressed

in broad terms,” but that same power has in practice been “exercised quite narrowly,”

courts will find Congressional acquiescence only where the claimed power has been

both exercised by the executive and implicitly approved by the Congress. See Kent v.

Dulles, 357 U.S. 116, 127-28 (1958); see also Medellin v. Texas, 552 U.S. 491, 531




                                          25
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 26 of 46




(2008) (confining claim of acquiescence to the “narrow set of circumstances” directly

supported by past practice).

      70.    As to the power to deny the Keystone XL permit, Congress has not

“acquiesced in this particular exercise of Presidential authority.” Medellin, 552 U.S.

at 528. “[T]he validity of the President’s action … hinges on a consideration of all the

circumstances which might shed light on the views of the Legislative Branch toward

such action.” Dames & Moore v. Regan, 453 U.S. 654, 668 (1981); see id. at 687 (noting

that courts examine whether Congress has “enacted legislation, or even passed a

resolution, indicating its displeasure” with the President’s action). 16

      71.    President Biden’s actions will cause massive disruptions to the free and

untrammeled flow of foreign and interstate commerce, and improperly arrogated

commercial regulatory powers Congress alone possesses. U.S. Const. art. I, § 8, cl. 3.

His decision—and any attempt by government officials to enforce it—therefore

violates the Constitution’s separation of powers.

      72.    “The Judicial Branch appropriately exercises [constitutional review] …

where the question is whether Congress or the Executive is ‘aggrandizing its power

at the expense of another branch.’” Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S.



      16 By contrast, President Trump’s approval of the permit is consistent with past
practice because it put into effect the repeatedly expressed preferences of Congress.
See Keystone Pipeline Approval Act, S. 1, 114th Cong., 1st Sess. §§ 1, 2(a) (2015); H.R.
5682, 113th Cong., 2d Sess. § 1 (2014); American Energy Solutions for Lower Costs
and More American Jobs Act, H.R. 2, 113th Cong., 2d Sess. § 103 (2014); Northern
Route Approval Act, H.R. 3, 113th Cong., 1st Sess. §3 (2013); North American Energy
Access Act, H.R. 3548, 112th Cong., 2d Sess. § 201-204 (2012); Temporary Payroll Tax
Cut Continuation Act of 2011, P.L. 112-78, Title V.



                                           26
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 27 of 46




189, 197 (2012) (quoting Freytag v. Comm’r of Internal Revenue, 501 U.S. 868, 878

(1991)). Federal courts can and do issue prospective relief to enforce the separation

of powers. See generally, Medellin, 552 U.S. 491; Franklin v. Massachusetts, 505 U.S.

788 (1992); Youngstown, 343 U.S. 579; Panama Ref. Co., 293 U.S. 388 (1935). The

Court should do the same here and declare the revocation unlawful and void.

                                       COUNT II:

  Declaratory Judgment under 5 U.S.C. § 706 and 28 U.S.C. §§ 2201-02 that
   the President May Not Unilaterally Revoke the Keystone XL Pipeline
       Because Congress Expressly Granted it By Operation of Law

       73.    As set forth above, the decision to provide or withhold permission to

construct and operate the Keystone XL Pipeline at the international border is a

regulation of international and interstate commerce. And under the Constitution, the

power to regulate international and interstate commerce resides with Congress—not

the President. U.S. Const. art I, § 8, cl. 3.

       74.    In 2011, Congress expressly directed the President to grant the

Keystone XL cross-border permit or explain within 60 days why he thought it would

disserve the national interest. See 2011 Act, Pub. L. No. 112-78, § 501(b)(3), 125 Stat.

at 1289-90. If the President failed to grant or report his negative recommendations

to Congress within 60 days, Congress would grant the Keystone XL permit by

operation of law. Id. The President failed to grant the permit or report negative

recommendations to Congress within the prescribed time period. President Obama

instead purported to deny the Keystone XL permit without concluding it disserved

the national interest, complaining that the 60-day time frame prescribed in the




                                            27
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 28 of 46




statute he signed into law provided an insufficient amount of time to make a national

interest determination. But that was not an option Congress provided.

      75.    Because Congress authorized the Keystone XL permit by operation of

law, the President sortied far beyond his constitutional precincts by purporting to

unilaterally revoke it.

      76.    The President’s decision cannot be sustained as an exercise of his

Commander in Chief powers, other powers enumerated in Article II of the

Constitution, or any implied power to control the border for the Nation’s safety,

security, or integrity. Nor has the President articulated any such basis for this action.

      77.    The President’s decision is contrary to law and an affront to the

separation of powers.     This Court should declare that his decision is therefore

unlawful and void. See Zivotofsky, 566 U.S. at 197; Medellin, 552 U.S. at 528;

Youngstown, 343 U.S. at 588-89; Panama Ref. Co., 293 U.S. at 418-19.

                                     COUNT III:

  Declaratory Judgment Under 5 U.S.C. § 706 and 28 U.S.C. §§ 2201-02 that
 the Cabinet Defendants’ Implementation of the Revocation Exceeds their
                           Statutory Authority

      78.    The Administrative Procedure Act requires this Court to hold unlawful

and set aside any agency action that is “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). Actions by the

Secretary of State and the other Cabinet Defendants to effectuate Executive Order

No. 13990 are contrary to law and in excess of their statutory authority.

      79.    Even if the President’s foreign-affairs powers could, in theory, allow him

to declare that a transnational permit should be revoked, any actions by the Cabinet


                                           28
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 29 of 46




Defendants to enforce that declaration is contrary to statute and, therefore, unlawful.

The Executive’s powers “fluctuate[] depending upon their disjunction or conjunction

with those of Congress.” Youngstown, 343 U.S. at 635 (Jackson, J., concurring).

“[W]hen the President takes measures incompatible with the expressed or implied

will of Congress, his power is at its lowest ebb, and the Court can sustain his actions

only by disabling the Congress from acting upon the subject.” Medellin, 552 U.S. at

525 (internal quotation marks omitted). More fundamentally, a federal agency only

has those powers granted to them by Congress and cannot act contrary to statute.

      80.    Here, the President has purported to act unilaterally, revoking prior

authorization for the construction and operation of the Keystone XL. His actions are

not directly subject to review under the Administrative Procedure Act. However,

under Executive Order Nos. 13337 and 13867, permitting decisions are effectuated

by the Secretary of State either alone or in conjunction with the other Cabinet

Defendants, who are subject to the strictures of the APA.

      81.    Congress has delegated limited powers to regulate certain aspects of

international oil pipelines to specific Executive Agencies, but those delegations do not

extend to cross-border siting of oil pipelines.

      82.    For instance, in the Hepburn Act of 1906, Congress expanded the

Interstate Commerce Act of 1877 to apply to international oil pipelines and

authorized the Interstate Commerce Commission (ICC) to set rates that pipeline

operators can charge for the transport of oil by pipelines. Pub. L. No. 59-337, § 1, 34

Stat. 584, 584 (as amended). Congress transferred the ICC’s jurisdiction to the




                                           29
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 30 of 46




Federal Energy Regulatory Commission (FERC) in the Department of Energy

Organization Act, Pub. L. 95-91, § 101, 91 Stat. 565 (1977) (codified at 42 U.S.C.

§ 7111 et seq.), and amended FERC’s authority in the Energy Policy Act of 1992, 49

U.S.C. § 112 et seq. (since repealed).

      83.    The initial federal legislation governing fossil fuel pipeline safety was

the Natural Gas Pipeline Safety Act of 1968, Pub. L. 90-481, 82 Stat. 720. This

pipeline safety legislation was amended in 1979 to include liquid fuels, Pub. L. No.

96-129, 93 Stat. 989, and has been since been amended on a number of occasions,

including by the Pipeline Safety Improvement Act of 2002, Pub. L. No. 107-355, 116

Stat. 2985. This is what is often referred to as the “Pipeline Safety Act.”

      84.    The Pipeline Safety Act preempts certain state regulations of pipelines,

but it does not authorize the Cabinet Defendants to act. Specifically, it states:

      A State authority that has submitted a current certification under section
      60105(a) of this title may adopt additional or more stringent safety standards
      for intrastate pipeline facilities and intrastate pipeline transportation only if
      those standards are compatible with the minimum standards prescribed under
      this chapter. A State authority may not adopt or continue in force safety
      standards for interstate pipeline facilities or interstate pipeline
      transportation.

49 U.S.C. § 60104(c). Nevertheless, the Pipeline Safety Act also specifically states

that “[t]his chapter does not authorize the Secretary of Transportation to prescribe

the location or routing of a pipeline facility.” Id. § 60104(e). Far from authorizing the

Cabinet Secretaries to act on Keystone XL, any action that Secretary Buttigieg takes

in response to the President’s order is directly contrary to this statute.




                                           30
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 31 of 46




      85.    Actions by the remaining Cabinet Secretaries are also in excess of their

statutory authority. In the statutes listed above or others, Congress could have

authorized the State Department to issue permits allowing transport of crude oil

between the United States and Canada and for pipeline construction, connection and

operation, but it did not. This stands in sharp contrast with other statutes in which

Congress has expressly granted authority for the Executive to address border

crossings. For example, Congress delegated to the Executive authority over

transboundary natural gas pipelines in the Natural Gas Act, 15 U.S.C. § 17 et seq.

(1938); transboundary bridges in the International Bridge Act, 33 U.S.C. § 535(b)

(1972); and international telegraph cables in the Kellogg Act, 47 U.S.C. § 34 et seq.

(1921). By contrast, there is no congressional act regarding border crossings for oil

pipelines, implying that Congress has never delegated to any of the Cabinet

Defendants the authority they would need to block Keystone XL.

      86.    Far from granting the Executive broad power to approve or disapprove

of cross-border pipelines, Congress authorized specific pipeline systems. In 1973,

Congress authorized construction of the Trans-Alaska Pipeline System (“TAPS”). 43

U.S.C. § 651 et seq. (1973). The TAPS was a matter of “foreign commerce” for

Congress despite the fact that it crossed no international borders. State v. Brown, 850

F. Supp. 821, 827–28 (D. Alaska 1994), dismissed sub nom. State of Alaska v. Brown,

86 F.3d 1163 (9th Cir. 1996). Similarly, in the Public Utility Regulatory Policies Act,

43 U.S.C. § 2001 et seq. (1973), Congress delegated to the President the authority to




                                          31
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 32 of 46




choose the preferred route of an east-west pipeline and to give it preferential

treatment in the permitting process.

      87.    The 2011 Act is similar to Congress’s past practice: It created a default

rule whereby Keystone XL should be authorized unless the President made specified

findings. Importantly, he did not exercise either of those statutory dictates. But as

there appears to be no other statute authorizing the Executive to approve or deny

Keystone XL, the Plaintiff States retain the power to approve the siting of pipelines

within its sovereign territory.

      88.    These statutes demonstrate that Congress never delegated to the

Executive the power to regulate the siting of oil pipelines. Moreover, any action that

the Cabinet Defendants take in response to the President’s order would be contrary

to statute. As a result, such actions should be declared unlawful and set aside under

5 U.S.C. § 706.

                                    COUNT IV:

  Declaratory Judgment under 5 U.S.C. § 706 and 28 U.S.C. §§ 2201-02 that
               Revocation of the Keystone XL Violates the
           Non-Delegation Doctrine and thus Contrary to Law

      89.    To the extent that the President or Cabinet Defendants point to a

general authority to regulate the environment or conduct foreign relations actually

conferred on them by Congress, such a theory runs afoul of the nondelegation

doctrine. Our system of government is built around the single, overarching principle

that “[t]he accumulation of all powers, legislative, executive, and judiciary, in the

same hands . . . may justly be pronounced the very definition of tyranny.” THE

FEDERALIST No. 47, at 298 (Madison) (C. Rossiter, ed. 1961). To protect against such


                                         32
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 33 of 46




accumulation of power, the Constitution vests “All legislative Powers [t]herein

granted” in Congress. U.S. Const. art. I, § 1. And the Supreme Court has long held

that “Congress . . . may not transfer to another branch ‘powers which are strictly and

exclusively legislative.’” Gundy v. United States, 139 S. Ct. 2116, 2123 (2019) (quoting

Wayman v. Southard, 23 U.S. 1, 42 (1825)).

      90.    Legislative power has been defined as the power to “prescrib[e] the rules

by which the duties and rights of every citizen are to be regulated.” THE FEDERALIST

No. 78, at 464 (Hamilton); Fletcher v. Peck, 10 U.S. 87, 136 (1810) (defining it as the

power to “prescribe general rules for the government of society”). Whether, and to

what extent, the transport of fossil fuels should be restricted on the grounds of

environmental impact is such a legislative decision.

      91.    Congress may allow the Executive discretion to determine how law

should be applied to particular facts. But general, substantive policies governing our

nation must be passed by the legislature and signed by the President. E.g., A.L.A.

Schechter Poultry Corp. v. United States, 295 U.S. 495, 537 (1935); cf. Dep’t of Transp.

v. Ass’n of Am. R.Rs. (“Amtrak”), 575 U.S. 43, 55-56 (2015) (reaffirming principle and

remanding for further consideration).

      92.    To determine whether such an improper delegation has occurred, courts

look to a number of factors including the scope of the delegation, the nature of the

question being delegated, and past congressional practice. Congress may allow the

Executive, which is vested with its own power to execute the law, to fill in the details

of how a statute functions on a-day-to-day basis, Gundy, 139 S. Ct. at 2129, or to find




                                          33
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 34 of 46




that the law has been triggered by “certain fact[s] being established,” Miller v. City

of N.Y., 109 U.S. 385, 393 (1883). But Congress may not allow the Executive to “pass

a prohibitory law,” or allow commercial policy “to be dealt with as he pleased.”

Panama Ref., 293 U.S. atat 414, 418; A.L.A. Schechter Poultry, 295 U.S. at 537-38.

      93.    As discussed above, pipeline siting decisions are routinely addressed

directly by Congress. This is hardly surprising: They have ripple effects throughout

the entire economy. Where Congress has allowed the President to make decisions

regarding pipeline location, it has been in the nature of fact-finding (e.g., which of a

predetermined set of options is preferable). Whether to allow the pipeline at all given

potential environmental impacts is a fundamentally legislative decision, which

cannot be delegated.

      94.    As discussed above, following a reasonably diligent search, Plaintiff

States are aware of no statute specifically authorizing the President to revoke the

Keystone XL permit in the manner demonstrated here. Cf. 15 U.S.C. § 717b(a)

(permitting the Department of Energy to permit the export of natural gas “with such

modification and upon such terms and conditions as the [Department] may find

necessary or appropriate”). To the extent that the defendants rely on a more general

law supposedly allowing them to take this action, this application of that law violates

the nondelegation doctrine.




                                          34
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 35 of 46




                                      COUNT V:

  Declaratory Judgment under 5 U.S.C. § 706 and 28 U.S.C. §§ 2201-02 that
              the Revocation Was Arbitrary and Capricious

      95.    In addition to being unlawful for the reasons discussed above, the

Cabinet Secretaries’ actions to effectuate the revocation should be set aside as

arbitrary and capricious. 5 U.S.C. § 706(2)(A). Moreover, the Supreme Court has

recognized “a long history of judicial review of illegal executive action, tracing back

to England” that arises out of the inherent equitable powers of the Court unless the

Congress has expressly acted to remove it. Armstrong v. Exceptional Child Ctr., Inc.,

575 U.S. 320, 326-27 (2015). Plaintiff States are aware of no congressional action

removing this Court’s ability to award relief against any defendant for his or her

unlawful actions.

      96.    Though the scope of arbitrary-and-capricious review—particularly

under the APA—is “narrow,” the Court must overturn an agency action that did not

“examine[] the relevant data and articulate[] a satisfactory explanation for its action.”

Dep’t of Commerce of N.Y., 139 S. Ct. 2551, 2578 (2019) (Thomas, J., concurring in

part and dissenting in part). Failure to consider obvious policy alternatives or

changed factual circumstances can render a decision arbitrary. Cf. Motor Vehicle

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 46-51 (1983);

Smiley v. Citibank (S.D.), N.A., 517 U.S. 735, 739-42 (1996).

      97.    The Cabinet Defendants’ actions fail to satisfy this standard in myriad

ways. Cabinet Defendants’ actions implicate numerous reliance interests, will lead to

thousands of Americans losing their jobs, and have the possibility of depriving States



                                           35
      Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 36 of 46




and local governments of millions of dollars in revenues. Yet, far from providing a

reasoned explanation for why they are taking their actions, they have not provided

any reason at all—even to say that they are acting because the President told them

to.

       98.   Assuming the Cabinet Defendants can use the President’s explanation

as a sort of regulation-by-proxy, that too would be insufficient. The President’s

decision to prohibit international and interstate commerce by revoking the Keystone

XL permit rests on his desire to “position [the U.S.] to exercise vigorous climate

leadership in order to achieve a significant increase in global climate action and put

the world on a sustainable climate pathway.” Essentially, the President purports to

unilaterally shutter Keystone XL to send a climate-friendly signal to the

international community and secure a stronger negotiating position in his efforts to

combat climate change. Congress has never allowed the President to encroach upon

its powers over international and interstate commerce in order to facilitate the

President’s pursuit of such vague objectives.

       99.   Moreover, this explanation fails to account for other important factors

that both the 2011 Act deemed relevant and that have arisen in the intervening

decade. In particular, the necessary facilities for Keystone XL have already been

constructed. Nevertheless, the Executive now seeks to reverse course based on optics

alone. The Executive Order says nothing about existing reliance interests and very

little about economics at all. Indeed, in the face of years of economic studies about the

likely impact of Keystone XL on the economy and lack of any such impact on the




                                           36
      Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 37 of 46




environment, the Executive Order cites little more than campaign slogans about

climate change and aspirations to create green jobs. This is insufficient under the

APA.

                                      COUNT VI:

 Declaratory Judgment Under 5 U.S.C. § 706 that the Cabinet Defendants’
  Implementation of the Revocation Is Void For Failure to Go Through
              Notice and Comment As Required By the APA

         100.   Finally, in addition to being substantively unlawful for the reasons

described above, the Cabinet Defendants’ actions to implement the revocation of the

Keystone XL permit must be set aside as agency action taken “without observance of

procedure required by law.” 5 U.S.C. § 706(2)(D).

         101.   Though Executive Order No. 13990 set general policy regarding

Keystone XL, on information and belief, that policy is implemented through the

actions of the Secretary of State or other Cabinet Defendants. Exec. Order No. 13867,

84 Fed. 15,491, 15,492 (Apr. 10, 2019) (revoking Executive Order No. 13337).

         102.   Each of the Cabinet Defendants is or manages an “agency” as that term

is defined in the APA, 5 U.S.C. § 551(1), and the Keystone XL permit is a “rule” under

the APA, id. § 551(4). The revocation of that permit is also a “rule” under the APA,

id.

         103.   With exceptions that are not applicable to the actions of the Cabinet

Defendants, agency rules must go through notice-and-comment rulemaking. Id.

§ 553.




                                           37
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 38 of 46




      104.   The Cabinet Defendants failed to properly engage in notice-and-

comment rulemaking before taking action to implement the Executive Order without

observing the procedure required by law.

                           VI. PRAYER FOR RELIEF

   Wherefore, Plaintiffs pray the Court:

      a.     Declare that Defendants lack the legal authority to prohibit TC Energy
             from constructing and operating the Keystone XL cross-border facilities
             other than through the lawful exercise of statutory authority;

      b.     Declare that the President’s decision in Section 6 of Executive Order
             13990, “Revoking the March 2019 Permit for the Keystone XL Pipeline,”
             is unconstitutional and unlawful, and lacks legal effect;

      c.     Declare that Defendants have no lawful basis to take any action to
             enforce or implement the decision purporting to revoke TC Energy’s
             permit to construct and operate Keystone XL cross-border facilities;

      d.     Preliminarily and permanently enjoin Defendants from taking any
             action to enforce, implement, or otherwise put into effect the decision
             revoking TC Energy’s permit to construct and operate Keystone XL
             cross-border facilities;

      e.     Award Plaintiffs the costs of this action and reasonable attorney’s fees;
             and

      f.     Award such other and further relief as the Court deems equitable and
             just.




                                           38
   Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 39 of 46




  Respectfully submitted this the 17th day of March, 2021,


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                                       39
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 40 of 46




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                                     40
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 41 of 46




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                                        41
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                                      42
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 43 of 46




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                                         43
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 44 of 46




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                                      44
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                                     45
    Case 3:21-cv-00065 Document 1 Filed on 03/17/21 in TXSD Page 46 of 46




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                                     46
